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    IT IS ORDERED as set forth below:



     Date: April 26, 2021
                                                        _________________________________

                                                                 Jeffery W. Cavender
                                                            U.S. Bankruptcy Court Judge

    ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                             :              CHAPTER 7
                                                   :
CARLTON RUFFIN,                                    :              CASE NO. 19-57751-JWC
                                                   :
         Debtor.                                   :
                                                   :

ORDER APPROVING SETTLEMENT UNDER RULE 9019 OF THE FEDERAL RULES
                   OF BANKRUPTCY PROCEDURE

         On March 15, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Carlton Ruffin (“Debtor”), filed his Motion for

Order Authorizing Compromise and Settlement with Debtor under Rule 9019 of the Federal

Rules of Bankruptcy Procedure [Doc. No. 34] (the “Motion”), seeking an order, among other

things, approving a Settlement Agreement1 pursuant to which, inter alia,2 Trustee and Debtor

(the “Parties”), settle the claim that the Bankruptcy Estate has regarding that certain real




1
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Motion.



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property with a common address of 1610 Neighborhood Walk, McDonough, Henry County,

Georgia, 30252 (the “Property”) for total payments (the “Scheduled Payments”) from Debtor

in the amount of $31,000.00 in exchange for Trustee’s abandoning the Interest in the Property to

Debtor.      In addition, there are events of default, cure provisions, and liquidated damage

provisions related to timely payment of the Scheduled Payments. Finally, Debtor is required to

maintain and insure the Property and pay his Mortgage Payments during the pendency of the

Scheduled Payments. The exact terms of the Settlement Agreement are set forth in Exhibit “A”

to the Motion.

         On March 16, 2021, Trustee filed Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 35] (the “Notice”) regarding the Motion, in accordance with General Order

No. 24-2018, and setting a hearing on the Motion on April 22, 2021 (the “Hearing”). Counsel

for Trustee certifies that he served the Notice on all requisite parties in interest on March 16,

2021. [Doc. No. 36].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         Counsel for Trustee and Debtor appeared at the Hearing, and announced that the Parties

had agreed to amend the Settlement Agreement so that the first Scheduled Payment was due on

April 15, 2021 rather than March 15, 2021. No creditors or parties in interest appeared at the

Hearing.




2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall controls.


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         The Court having considered the Motion, statements by counsel at the Hearing, and all

other matters of record, including the lack of objection to the relief requested in the Motion, and,

based on the forgoing, finding that no further notice or hearing is necessary; and, the Court

having found that good cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein; provided, however, that the first Scheduled Payment shall be

due on April 15, 2021 rather than March 15, 2021. It is further

         ORDERED that the Parties may take any other actions necessary to effectuate the terms

of the Settlement Agreement. It is further

         ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                    [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Order reviewed and consented to by:

BROOKHUIS LAW, LLC

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